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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 24-7021                                                September Term, 2023
                                                                      1:21-cv-03354-BAH
                                                       Filed On: May 20, 2024
Ruby Freeman and Wandrea' Moss,

             Appellees

      v.

Rudolph W. Giuliani,

             Appellant


                                        ORDER

       It is ORDERED, on the court’s own motion, that the scheduling order filed on
April 18, 2024, be vacated. It is

       FURTHER ORDERED that this case be held in abeyance pending further order
of the court. The parties are directed to file motions to govern future proceedings within
30 days of the disposition of appellant’s bankruptcy proceedings in the Southern District
of New York, No. 23-12055, or the termination of the automatic stay.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Laura M. Morgan
                                                         Deputy Clerk
